      Case 6:00-cr-06155-DGL       Document 585     Filed 09/11/06    Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,


                                                                    ORDER
              v.                                                 00-CR-06155CJS


RICHARD N. AMICO,

                                  Defendant.


              Pursuant to Summary Order filed September 1, 2006, the United States

Court of Appeals for the Second Circuit remanded this case for the sole purpose of

entertaining a renewed motion for bail pending appeal, and directed that the case be

assigned to a judge other than the judge who presided over the trial. Accordingly, the

undersigned hereby assigns this matter to the Hon. David G. Larimer, United States

District Judge.

              IT IS SO ORDERED.


                                        /s/   Richard J. Arcara
                                        HONORABLE RICHARD J. ARCARA
                                        CHIEF JUDGE
                                        UNITED STATES DISTRICT COURT

DATED: September 11, 2006
